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                   UNITED STATES BANKRUPTCY COURT
                SOUTHERN DISTRICT OF TEXAS (HOUSTON)

                              .         Case No. 23-90147
IN RE:                        .         Chapter 11
                              .         (Jointly Administered)
MOUNTAIN EXPRESS OIL COMPANY, .
et al.,                       .         515 Rusk Street
                              .         Houston, TX 77002
                 Debtors.     .
                              .         Thursday, November 9, 2023
. . . . . . . . . . . . . . . .         3:30 p.m.

  TRANSCRIPT OF APPLICATION FOR COMPENSATION / FIRST AND FINAL
 APPLICATION FOR COMPENSATION AND FOR REIMBURSEMENT OF EXPENSES
  BY HUGHES WATTERS ASKANANSE, LLP AS ATTORNEYS FOR CHAPTER 11
 TRUSTEE FOR AUGUST 17, 2023 THROUGH AUGUST 24, 2023 FOR HUGHES
     WATTERS ASKANANSE LLP, ATTORNEY, PERIOD: 8/17/2023 TO
         8/24/2023, FEE: $87,380.00, EXPENSES: $ [1493]
            BEFORE THE HONORABLE EDUARDO V. RODRIGUEZ
           CHIEF UNITED STATES BANKRUPTCY COURT JUDGE

APPEARANCES:

                             Hughes WattersAskananse
 For the Chapter 7           By:
                              Pachulski
                                   HEATHER
                                         Stang
                                            HEATH
                                                Ziehl
                                                  MCINTYRE,
                                                      & JonesESQ.
                                                               LLP
 Trustee:
                              By: WAYNE
                                    BENJAMIN
                                          KITCHENS,
                                              WALLEN,
                                                    ESQ.
                                                      ESQ.
                             1201
                              440 Louisiana
                                   Louisiana Street,
                                              Street, Suite
                                                      28th Floor
                                                            900
                             Houston,
                              Houston, TX
                                        TX 77002
                                            77002
                             (713)
                              (713) 590-4200
                                     691-9385

                             Porter Hedges
                             By: JOSHUA W. WOLFSHOHL, ESQ.
                             1000 Main Street, 36th Floor
                             Houston, TX 77002
                             (713) 226-6000

APPEARANCES CONTINUED.
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APPEARANCES (Continued):
Chapter 7 Trustee             JANET S. NORTHRUP
                              1201 Louisiana Street, 28th Floor
                              Houston, TX 77001
For First Horizon             Greenberg Traurig, LLP
Bank, as                      By: JOHN D. ELROD, ESQ.
Administrative Agent:         Terminus 200
                              3333 Piedmont Road NE, Suite 2500
                              Atlanta, GA 30305
                              (678) 553-2259
For Valero Marketing          Dykema Gossett
and Supply Company:
                              By: DEBORAH WILLIAMSON, ESQ.
                              112 East Pecan Street, Suite 1800
                              San Antonio, TX 78205
                              (210) 554-5500

                              Locke Lord LLP
For BFM Enterprises
                              By: SIMON RICHARD MAYER, ESQ.
LLC:
                              600 Travis, Suite 2800
                              Houston, TX 77002
                              (713) 226-1507

                              GableGotwals
For GableGotwals:
                              By: BRANDON CRAIG BICKLE, ESQ.
                              110 North Elgin Avenue, Suite 200
                              Tulsa, OK 74120-1495
                              (918) 595-4817

                              Sidley Austin LLP
For Pilot Travel
                              By: CHELSEA MCMANUS, ESQ.
Centers LLC:
                              2021 McKinney Avenue, Suite 2000
                              Dallas, TX 75201
                              (214) 981-3300




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1          (Proceedings commence at 3:30 p.m.)

2                THE COURT:    All right.    Good afternoon, everyone, now

3    taking up the 3:30 docket.        Take appearances in 23-90147,

4    Mountain Express Oil Company, jointly-administered Chapter 7

5    proceeding.

6                Mr. Kitchens.

7                MR. KITCHENS:     Good afternoon, Your Honor.        Wayne

8    Kitchens, counsel for Janet Northrup, the Chapter 7 trustee.

9                THE COURT:    Okay.    Ms. McIntyre.

10               MS. MCINTYRE:     Good afternoon, Your Honor.        Heather

11   McIntyre on behalf of the Chapter 7 trustee, who is also

12   joining us in the courtroom.

13               THE COURT:    Thank you.

14               Mr. Elrod.

15               Mr. Wolfshohl.

16               MR. ELROD:    Good afternoon, Your Honor.

17               THE COURT:    Mr. Elrod?

18               MR. ELROD:    Good afternoon, Your Honor.        It's John

19   Elrod of Greenberg Traurig LLP on behalf of First Horizon Bank,

20   as agent.

21               THE COURT:    Thank you.

22               Mr. Wolfshohl.

23               MR. WOLFSHOHL:     Good afternoon, Your Honor.          Joshua

24   Wolfshohl, co-counsel for the Chapter 7 trustee, Janet

25   Northrop.



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1                THE COURT:    Thank you.

2                Mr. Mayer.

3                MR. MAYER:    Good afternoon, Your Honor.        Simon Mayer

4    on behalf of BFM Enterprises.

5                THE COURT:    Mr. Bickle.

6                MR. BICKLE:    Your Honor, Brandon Bickle.         I represent

7    my firm, GableGotwals, which is an ordinary course professional

8    in the case.     I'm simply monitoring the hearing.

9                THE COURT:    Thank you.

10               Ms. Williamson.

11               MS. WILLIAMSON:     Your Honor, Deborah Williamson

12   representing Valero Marketing and Supply, and I too am only

13   monitoring the hearing.

14               THE COURT:    Thank you.

15               Ms. McManus.

16               MS. MCMANUS:      Good morning, Your Honor.      Chelsea

17   McManus on behalf of Pilot Travel Centers.           I'm also just

18   observing the hearing.

19               THE COURT:    All right.    Thank you.

20               So today, I set a hearing on final fee application

21   for the Hughes Watters firm, and it really only comes down to

22   one question I had.      The application is proper.        I've reviewed

23   the time entries.      The only concern I had on that particular

24   application was we have quite a few entries that are block

25   billed, and I traditionally reduce the amount of fees awarded.



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1    And when we have block-billed entries, you know, it's gone

2    anywhere up to 30 percent.       In this particular case, it's not

3    that egregious.     I'm inclined to grant the fee award minus a

4    5-percent reduction, which would come out to $83,011, rather

5    than $87,380.

6                Mr. Kitchens.

7                MR. KITCHENS:     Yes, Your Honor.     I'm a partner in the

8    firm of Hughes Watters Askananse.         That is acceptable to the

9    firm.

10               THE COURT:    Ms. Northrup?

11               MS. NORTHRUP:     Yes, Your Honor.     That is fine with

12   me, as well.     That's not a problem at all.

13               THE COURT:    All right.

14               MS. NORTHRUP:     We'll try not to do that in the

15   future.    We were just operating at such a fast pace at first,

16   it's hard for everybody to write down the time (indiscernible)

17   was going on.     It was pretty much of a madhouse, but I

18   appreciate your giving us that insight.          We'll make sure that

19   we try to keep it more clear for in the future.

20               THE COURT:    Absolutely.     And like I said, it's not

21   that egregious in this case.        I've seen a lot worse.       It's not

22   that bad, but I -- there is, you know, quite a few entries that

23   are block billed where I can't tell exactly what time was

24   billed to what particular matter.         But 5 percent, I think is

25   appropriate.     So I'm going to edit the order and award $83,011



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1    in that fee application.       Okay?   And with that change, that

2    motion is granted.      I want to thank everybody for their

3    appearances today.

4                MR. KITCHENS:     Thank you, Judge.

5                MS. NORTHRUP:     Thank you, Your Honor.

6                THE COURT:    Have a good day.

7                UNIDENTIFIED:     Thanks, Your Honor.

8                UNIDENTIFIED:     Thanks, Your Honor.

9                UNIDENTIFIED:     Thank you, Your Honor.

10               THE COURT:    Court's in recess until 4 p.m.

11               UNIDENTIFIED:     Thank you, Your Honor.       Take care.

12         (Proceedings concluded at 3:34 p.m.)

13                                   * * * * *


14                          C E R T I F I C A T I O N

15

16               I, Alicia Jarrett, court-approved transcriber, hereby

17   certify that the foregoing is a correct transcript from the

18   official electronic sound recording of the proceedings in the

19   above-entitled matter.

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24   ALICIA JARRETT, AAERT NO. 428           DATE: November 22, 2023

25   ACCESS TRANSCRIPTS, LLC



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